    Case 1:19-cv-00117-BMC Document 43 Filed 10/09/20 Page 1 of 5 PageID #: 884




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x   Civil Action No:
AVAIL HOLDING LLC,                                                     19-cv-00117 (BMC)

                                   Plaintiff,

         -against-                                                     Supplemental Declaration of
                                                                       Christopher Newton In
FRANCES RAMOS; COMMISSIONER OF SOCIAL                                  Further Support of
SERVICES OF THE CITY OF NEW YORK SOCIAL                                Defendant’s Motion for
SERVICES DISTRICT; CREDIT ACCEPTANCE                                   Attorneys’ Fees Related to
CORPORATION; CITY OF NEW YORK                                          Defending Appeal
ENVIRONMENTAL CONTROL BOARD, NEW YORK
CITY TRANSIT ADJUDICATION BUREAU;

                                    Defendants.
-------------------------------------------------------------------x

         Christopher Newton, in accordance with the provisions of 28 U.S.C. § 1746, declares as

follows:

      1. I am an attorney duly admitted to practice law in the State of New York and am admitted

         to practice in the United States District Court for the Eastern District of New York. I am

         the acting director of the Homeowner and Consumer Rights Project of Queens Legal

         Services (“QLS”), attorneys for Defendant Frances Ramos.1

      2. I make this declaration in further support of Defendant Frances Ramos’ motion for an

         award of attorneys’ fees to Queens Legal Services (Docket Number 32) for additional

         fees incurred in defending Plaintiff’s unsuccessful appeal in this matter.

      3. Ms. Ramos seeks an order directing Plaintiff Avail Holding, LLC (“Avail”) to pay a total

         of $41,175.00 in attorneys’ fees to Queens Legal Services. As described more fully

         below, this figure includes the $12,145.00 incurred for work done in the District Court,

1
  At the time I submitted the December 5, 2019 Declaration, I was the deputy director of the
Homeowner and Consumer Rights Project. (Docket No 32-1, ¶11.) I have since been promoted
to acting director of that team.
    Case 1:19-cv-00117-BMC Document 43 Filed 10/09/20 Page 2 of 5 PageID #: 885




           which was detailed in my initial declaration in support of this application dated

           December 5, 2019, and an additional $29,030.00 in fees incurred in defending Avail’s

           meritless appeal.

      4.   In submitting our fee application at the District Court, we did not include any time spent

           by any other QLS attorneys or staff in our fee application. However, when speaking with

           Avail’s counsel, Mr. Warmuth, I informed him that our office would devote much more

           time by senior attorneys if involved in appellate litigation, and that any subsequent fee

           application following affirmance would be substantially higher than the fees already

           requested. The rough estimate I provided to Mr. Warmuth, that a bond of $40,000 would

           be sufficient to cover the total fee request, proved to be a conservative estimate of the

           actual fees incurred.

      5. I respectfully refer the Court to Paragraphs 11 through 15 of my Declaration in Support

           of Defendant’s Motion for Attorneys’ Fees (Docket No 32-1) for an overview of my

           litigation experience.

      6. Attached as Exhibit C2 to this Declaration is a spreadsheet derived from the LegalServer

           time-keeping records in this matter from December 16, 2019 through September 10,

           2020. As described in Paragraph 16 of my prior declaration, Queens Legal Services

           requires our advocates to contemporaneously enter our time and notes related to cases

           electronically into our case management system, LegalServer.

      7. All of these time-records reflect time involved in defending the appeal. As required by

           QLS’ fee-shifting policy (Exhibit B), my hourly rate was reduced to $100 per hour for the




2
    Exhibits A and B in support of this motion are filed as Docket Numbers 32-2 and 32-3.


                                                     2
    Case 1:19-cv-00117-BMC Document 43 Filed 10/09/20 Page 3 of 5 PageID #: 886




         time I spent on work that was administrative in nature—such as formatting or printing the

         brief. I have not included the time I spent preparing this fee application.

      8. The Second Circuit assigned this case to its Civil Appeals Mediation Program

         (“CAMP”). I spent 5.8 hours preparing for and participating in the CAMP conference,

         including drafting and submitting a pre-mediation statement, meeting with Ms. Ramos

         prior to the conference, and the actual mediation call itself.

      9. I spent 14.3 hours drafting Ms. Ramos’ respondent’s brief, and another 7.8 editing it. I

         respectfully submit that this is a reasonable amount of time, given that the statute of

         limitations is a rapidly developing area of foreclosure law in New York, with new

         decisions coming down from the Appellate Division on a weekly basis, and because

         clear, effective, and persuasive writing takes time.

      10. Two senior QLS attorneys provided substantive feedback and edits on Ms. Ramos’ brief:

             a. Jacob Inwald is the director of foreclosure prevention for Legal Services NYC’s3

                 citywide program. He is referred to as “Jay” in the LegalServer notes. Mr. Inwald

                 has more than 35 years of litigation experience, including having argued or

                 supervised dozens of appeals in state and federal courts throughout the country.

                 Because of the way Mr. Inwald is funded through our various grants, he did not

                 bill his time directly to Ms. Ramos’ case in LegalServer, and we are not seeking

                 any reimbursement for his time.

             b. Veronica Cook is the director of litigation for Queens Legal Services. She has

                 practiced law for 13 years. Prior to her employment at Queens Legal Services,

                 Ms. Cook served as a clerk to the Honorable Rosemary M. Collyer in the District



3
    Queens Legal Services is a borough office of Legal Services NYC.


                                                   3
Case 1:19-cv-00117-BMC Document 43 Filed 10/09/20 Page 4 of 5 PageID #: 887




             Court for the District of Columbia, worked as a litigation associate at WilmerHale

             and Fried Frank, and was a fellow at the NAACP Legal Defense and Educational

             Fund. She has litigated an array of civil rights cases, and is responsible for

             supervising all advanced litigation and appeals at QLS. Ms. Cook billed 4.6 hours

             of time in editing the brief.

  11. After the date of oral argument was set, I spent 5 hours researching how the Second

     Circuit was conducting remote oral arguments. During this time, I learned that different

     panels took vastly different approaches to conducting oral arguments remotely, so that

     time included listening to the different judges assigned to our panel to learn what they

     expected from me.

  12. I spent 15.8 hours preparing for oral arguments. This included becoming intimately

     familiar with the details of the record and the arguments contained in the briefing,

     confirming that there were no changes or updates in the law after the briefs were

     submitted, and participating in moot arguments.

  13. Four senior attorneys in our organization assisted in conducting a moot argument in

     preparation for oral argument. Each of the attorneys participating has practiced for more

     than twelve years, and so under the QLS fee shifting policy, bill at a rate of $500. Their

     respective dates of admission are provided on page 2 of Exhibit C. Collectively, they

     billed a total of 10 hours in preparation for and participating in the moot argument.




                                               4
 Case 1:19-cv-00117-BMC Document 43 Filed 10/09/20 Page 5 of 5 PageID #: 888




   14. Accordingly, I respectfully submit this supplemental declaration asking that the Court

       enter an order directing Avail to pay a total of $41,175.00 in attorneys’ fees to Queens

       Legal Services, $12,145.00 incurred for work done in the District Court, and an

       additional $29,030.00 in defending Avail’s meritless appeal.


I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 9, 2020
       Jamaica, New York                                  _________/s/______________
                                                          QUEENS LEGAL SERVICES
                                                          By: Christopher Newton
                                                          Attorneys for Defendant Frances Ramos
                                                          89-00 Sutphin Blvd, 5th Floor
                                                          Jamaica, NY 11435
                                                          (347) 592-2200 (main phone)
                                                          (347) 592-2251 (direct phone)
                                                          cnewton@lsnyc.org




                                                  5
